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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                                  §
                                                        §      Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                              §      Chapter 11 (Subchapter V)
                                                        §
         Debtor.                                        §

                               CERTIFICATE OF NO OBJECTION

         Pursuant to the Local Bankruptcy Rules for the Southern District of Texas, the undersigned

counsel for the above-captioned debtor and debtor in possession (the “Debtor”) certifies as

follows:

         1.       On November 3, 2022, the Debtor filed the Motion to Reject Lease or Executory

Contract with Auriam Services, LLC [Docket No. 264] (the “Motion”).

         2.       The deadline for parties to file objections and responses to the Motion was

November 25, 2022 (the “Objection Deadline”). No objections or responses to the Motion were

filed on the docket on or before the Objection Deadline. Counsel to the Debtor did not receive any

other informal responses on or before the Objection Deadline.

         3.       The Debtor requests that the Court enter the attached proposed order at the earliest

convenience of the Court.




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       Respectfully submitted this November 29, 2022.

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                                            By: /s/ Raymond W. Battaglia
                                                  Raymond W. Battaglia
                                                  Texas Bar No. 01918055

                                             ATTORNEYS FOR THE DEBTOR IN
                                             POSSESSION




                                CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
electronically upon those parties registered to receive electronic notice via the Court’s CM/ECF
system on November 29, 2022.


                                                   /s/ Raymond W. Battaglia
                                                   Raymond W. Battaglia




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